Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.658 Page 1 of 9



  

  

  

  

  

  

  

  

  

  




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Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.659 Page 2 of 9
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.660 Page 3 of 9
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.661 Page 4 of 9
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.662 Page 5 of 9




              OLIVER LAW GROUP PC FIRM BIOGRAPHY
 Firm Overview
          The Oliver Law Group, P.C., located in Rochester, Michigan, was founded by managing
 partner Alyson Oliver. The firm has developed a range of experience in criminal and civil law
 practice. As a boutique law firm which emphasizes civil advocacy, the Oliver Law Group has
 followed Ms. Oliver’s lead as agents for positive social change and responsibility, and has
 represented individuals, companies, classes and the community at large, often in complex civil
 litigation.

 A Record of Success Built on a Range of Experience.

         The Oliver Law Group is comprised of attorneys with a range of experiences, from
 regulatory and business backgrounds to experience with complex multidistrict litigation, class
 actions, criminal law and civil rights claims. Such experience and professional diversity renders
 the Oliver Law Group well-suited to the needs of their clients.

 Prompt and Reliable Communication.

         The Oliver Law Group takes great pride in being client-focused. With a portion of its
 staff devoted exclusively to providing prompt client services and remaining available for client
 communications and needs, the Oliver Law Group takes its commitment to providing consistent
 and clear communication very seriously.

 Dedication to Service.

        The Oliver Law Group is a leader in its dedication to pro bono service to the community.
 A robust belief of giving back anchors the firm’s effort to extend representation to those who
 would otherwise not receive legal assistance. The attorneys of Oliver Law Group are
 encouraged to establish relationships that allow for pro bono services, and individually have
 been recognized repeatedly for this effort. In addition, the firm itself received recognition in
 2013 by the United Stated District Court, Eastern District of Michigan for the firm-wide pro
 bono dedication Oliver Law Group maintains.

 Attorney Biographies
 Alyson Oliver, Esq.

         With a multi-faceted career spanning over 14 years, Alyson Oliver’s experience as a trial
 lawyer and managing partner of the Oliver Law Group P.C. has provided a solid foundation for
 handling intricate litigation. Oliver has thrived over the years on challenging courtroom battles
 and gaining victories for the underdog. As a dynamic trial lawyer, she is a diligent advocate for
 her clients. Oliver is skilled in all phases of litigation from the preparation and discovery phases
 through negotiations, hearings, and trials.
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.663 Page 6 of 9



         Oliver’s peers have recognized her talent and dedication to her clients and the legal
 profession. In 2008-2012, Oliver was named a Top 100 Trial Attorney by the American Trial
 Lawyers Association. The Association is a national organization recognizing the Top 100 Trial
 Lawyers from each state. Membership is obtained through special invitation only to those
 attorneys who exemplify superior qualifications of leadership, reputation, influence, stature, and
 profile as civil plaintiff or criminal defense trial lawyers.

 Legal Excellence & Professionalism

     Ms. Oliver’s dedication and commitment to upholding the highest standard of legal
 excellence and professionalism has been demonstrated in over a decade of service which
 includes:

    •   2003 Pro Bono Recognition from Chief Judge Lawrence P. Zatkoff of the United States
        District Court, Eastern District of Michigan

    •   2008 Pro Bono Recognition from Chief Judge Bernard Friedman of the United States
        District Court, Eastern District of Michigan

    •   2008, 2009, 2010, 2011 Named as a Top 100 Trial Attorney in America’s Trial Lawyers
        Association

    •   2009 and 2010 Pro Bono Recognition from Chief Judge Gerald E. Rosen of the United
        States District Court, Eastern District of Michigan

    •   Dynamic Trial Attorney with a 90% win rate for an average of 20 trials annually

    •   Six years of progressive trial experience in primary practice of criminal defense prior to
        electing to focus on civil plaintiff’s litigation and ultimately, complex litigation

    •   Procured a published opinion changing the standard for medical treatment for prisoners
        as counsel in Garretson v. Madison Heights, a §1983 case

    •   Appointed as class counsel repeatedly in multiple states; currently serving as class
        counsel in the WARN act litigation in St. Louis, Missouri

    •   Presenter of oral argument at Joint Panel of Multi-District Litigation in efforts to
        consolidate national litigation in MDL proceedings in Imprelis Litigation, and
        Transvaginal Mesh Litigation

    •   Currently involved in MDL litigation in DePuy ASR, Medtronic Sprint Fidelis, Digitek,
        DePuy ASR and Pinnacle, Yaz®, Transvaginal Mesh and NuvaRing®

    •   Appointed to and currently serving on the Plaintiff Steering Committee on Zimmer
        NexGen® Knee Multi District Litigation pending in Chicago, Illinois before the Hon.



                                                  2
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.664 Page 7 of 9



        Rebecca Pallmeyer as well as on the Steering Committee for six Transvaginal Mesh
        Multi-District Litigations cases pending in West Virginia before Judge Goodwin.

    •   Engaged in law and motion committee, plaintiffs vetting committee, and discovery
        committees in multiple MDLs and class actions; currently in Zimmer NexGen®, Imprelis
        Multi District Litigations, Blue Cross Blue Shield of Michigan antitrust litigation and
        Transvaginal Mesh litigation.

 EDUCATION
 B.A. 1994 – Oakland University
 J.D. 1998- University of Detroit Mercy

 STATE COURT BAR ADMISSION

 State of Michigan


 FEDERAL COURT BAR ADMISSIONS


    •   United States Court of Appeals Sixth Circuit
    •   United States District Court of Indiana Northern District
    •   United States District Courts of Michigan Eastern District and Western District
    •   United States District Court of New York Northern District
    •   United States District Court of Ohio Northern District
    •   United States District Court of Wisconsin Eastern District
    •   United States District Court of Missouri Eastern District

 SPECIAL APPOINTMENTS AND RECOGNITION

    •   4/15/2003| Pro Bono Recognition from Chief Judge Lawrence P. Zatkoff of the United
        States District Court, Eastern District of Michigan
    •   9/23/2008| Pro Bono Recognition from Chief Judge Bernard Friedman of the United
        States District Court, Eastern District of Michigan
    •   2008, 2009, 2010, 2011, 2012| Named as a Top 100 Trial Attorney in America’s Trial
        Lawyers Association
    •   9/15/2009| Pro Bono Recognition from Chief Judge Gerald E. Rosen of the United States
        District Court, Eastern District of Michigan
    •   9/15/2010| Pro Bono Recognition from Chief Judge Gerald E. Rosen of the United States
        District Court, Eastern District of Michigan

 AFFILIATIONS

    •   American Trial Lawyers Association
    •   American Association of Justice
    •   Oakland County Bar Association

                                                3
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.665 Page 8 of 9



    •   State Bar of Michigan
    •   Criminal Defense Attorneys of Michigan
    •   U.S. District Court Pro Bono Committee
    •   Consumer Law Division, State Bar of Michigan



 Reed E. Eriksson, Esq.

         Reed E. Eriksson has been working with Alyson Oliver since June of 2011. Reed earned
 his Bachelor’s Degree in Political Science from the University of Michigan, Ann Arbor, in 2009;
 and earned his law degree from the University of Toledo, College of Law, in 2012, where he
 earned recognition for his legal research and writing skills. Since joining the firm as a clerk,
 Reed has continued to hone those research and writing skills; and Reed now works on a wide
 variety of practice areas, from business and contract disputes, to employment litigation and
 criminal defense representation, to appellate arguments and Constitutional law. With this multi-
 faceted approach, Reed is prepared to assist in a wide variety of areas where his legal research
 and writing skills work to bring the best possible results to the facts and circumstances by any
 client.


 Lisa M. Gray, Esq.

         Lisa M. Gray joined the Oliver Law Group as an attorney in January 2013, where she
 practices in a variety of areas including class actions and complex, multidistrict litigation. Ms.
 Gray graduated from the Michigan State University College of Law in 2010—she also holds
 Bachelor of Arts in International Relations from Michigan State University. Throughout law
 school, she has worked as a legal clerk for the 54-B District Court and held a position as an
 associate on the Journal of Business and Securities Law. Prior to joining Oliver Law Group, Ms.
 Gray held a variety of legal positions, which included working as a law clerk for the United
 States Department of Interior and most recently as a hearing referee for the Michigan Tax
 Tribunal, Small Claims Division.



 Matthew C. Barsenas, Esq.

         Matthew Barsenas joined the Oliver Law Group in March of 2011. He is an attorney
 practicing in the firm’s product liability section. Matthew is licensed to practice law in the State
 of Michigan and in the United States District Court for the Eastern District of Michigan. Prior to
 joining the Oliver Law Group, he worked in the medical field and is an astute resource for
 medically based issues.

         Matthew earned his Juris Doctorate from Barry University Law School in May, 2010.
 Prior to attending law school, he earned her Bachelor’s degree in philosophy and classic
 civilizations at Wayne State University.


                                                  4
Case 3:13-cv-00412-JM-MDD Document 40-11 Filed 01/31/14 PageID.666 Page 9 of 9



 Nick Suciu III, Esq.

 STATE COURT BAR ADMISSION

 State of Michigan

 FEDERAL COURT BAR ADMISSIONS

    •   United States District Court for the Eastern District of Michigan
    •   United States District Court for the Western District of Michigan
    •   United States Court of Appeals for the Sixth Circuit

 EDUCATION

 Wayne State University Law School, Detroit, Michigan

    •   Juris Doctor, May 2008

 Wayne State University, Detroit, Michigan

    •   Master of Business Administration, December 2009
    •   Beta Gamma Sigma Business Honor Society

  Wayne State University, Detroit, Michigan

    •   Bachelor of Science in Business Administration, Major in Management, August 2005
    •   Graduated Magna Cum Laude
    •   Dean’s List
    •   Beta Gamma Sigma Business Honor Society

 ACKNOWLEDGMENTS

    •   United States District Court Eastern District of Michigan 2006 and 2007 Pro Bono
        Recognition
    •   Raymond Krell and Board of Governors’ Scholarships-LAW



 Support Staff

         The Oliver Law Group attorneys are supported by six key staff members who allow the
 lawyers to focus on practicing law with the confidence that support functions and clients are well
 taken care of and secure. Without equivocation, the Oliver Law Group support staffs are a major
 asset to the firm and its clients and provide invaluable service to both.



                                                 5
